    Case 1:24-cv-04227-DG-JRC Document 6 Filed 06/17/24 Page 1 of 1 PageID #: 35



AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Eastern District
                                                    __________         of New
                                                                 District      York
                                                                          of __________

  DOWGE INTERNATIONAL DEVELOPMENT, LTD.                               )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No.    24-cv-4227
                                                                      )
ALBERT BARNATHAN, individually and as trustee of                      )
  Joseph And Sophia Barnathan 2012 Irrevocable                        )
                     Trust
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ALBERT BARNATHAN, individually and as trustee of Joseph And Sophia Barnathan
                                           2012 Irrevocable Trust

                                           2174 E 4th St, Brooklyn, NY 11223




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Zheng “Andy” Liu
                                           1660 S Amphlett Blvd Suite 315 San Mateo, CA 94402
                                           Telephone: 650.475.6289
                                           Email: Andy.liu@aptumlaw.us



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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